Case 1:17-cv-00117-VAC-CJB Document 3 Filed 02/06/17 Page 1 of 2 PageID #: 9




         EXHIBIT A
Case 1:17-cv-00117-VAC-CJB Document 3 Filed 02/06/17 Page 2 of 2 PageID #: 10

      Dept. 96307
     PO Box 1259
     Oaks, PA 19456
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     March 31, 2016

                                                                                                                     Van Ru Credit Corporation
                                                                                                                   1350 E Touhy Ave STE 300E
                                                                                                                     Des Plaines IL 60018-3342
   •1!11'111111• 1•11'11· 11 1111 11111hi'11•Ir1111111,1,1 .. r111' ·'I• Ii   1oao93. ms                                          877-278-0017
                                                                                           Hours of Operation: Mon 7am-11pm Tue-Fri 7am-9pm
              JOSHUA D KAVELAK
 re:"~ 101 SPANIEL CT                                                                                                        Sat 8am-12pm CT
 ~ TOWNSEND DE 19734-9032                                                                                          ACCOUNT INFORMATION
                                                                                                                 VAN RU ACCOUNT NUMBER
                                                                                                                                         40966825
                                                                                                                   CURRENT BALANCE DUE
                                                                                                                                         $3413.54




Creditor: Discover Bank
Discover card Acct#                                                    Balance
1<1t1t1t1ru1r1<1•1t'itit9Q       50                                    3413.54




In an effort to resolve !his debt, we are offering two different settlement options.
Option 1: Our client will allow you to settle your account(s) for $614.46, in 2 payments of $307.23 each, starting on
04/15/16. Each subsequent payment must be received within thirty (30) days of receipt of the prior payment. Upon
receipt and clearance of the 2 payments of $307.23, the above referenced account(s) will be satisfied and closed and,
upon request, a settlement in full letter will be sent. We are not obligated to renew this offer.
Option 2: Our client will allow you 1o settle your account(s) for $921.69, in 3 payments of $307.23 each, starting on
04/15/16. Each subsequent payment musl be received within thirty (30) days of receipt of the prior payment. Upon
receipt and clearance of the 3 payments of $307.23, the above referenced account(s) will be satisfied and closed and,
upon request, a settlement in full letter will be sent. We are not obligated to renew this offer.
If you have any questions, or wish to discuss your account or payment options, you may contact us at 877-278-0017.
This communication is from a debt collector. This is an attempt to collect a debt. Any Information obtained
will be used for that purpose.
Van Ru Credit Corporation
Due to the age of your account, Discover Bank is not able to file suit against you, but if you take specific action such
as making a payment or making a written promise to pay, the time for filing a suit wilf be reset. We would like to work
with you to resolve your account balance.
Settling a debt for less than the balance owed may have tax consequences for you. If the amount forgiven is $600 or
more, Discover may need to file a 1099C form with the IRS. We cannot provide you with tax advice. If you have any
questions, we encourage you to consult a tax adviser of your choosing.



                                             NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION.

               Pay Online: www.vanruezpay.com
              To access your accounts onllne, your User ID is 440966825 and your PIN Number is 6274465.
              Pay by Phone: Please call Van Ru Credit Corporation toll-free at 877-278-0017. We offer check by phone
              and Money Gram.
   f8l        Pay by Mail: Send payments to Van Ru, PO Sox 1612, Des Plaines IL 60017
                                                                                                                      103093-4730.4138
